          Case MDL No. 3081 Document 1-1 Filed 05/24/23 Page 1 of 17




                BEFORE THE UNITED STATES JUDICIAL PANEL
                     ON MULTIDISTRICT LITIGATION


 IN RE: BECTON, DICKINSON                       )       MDL DOCKET NO. _______
 AND COMPANY IMPLANTED PORT                     )
 CATHETER PRODUCTS LIABILITY                    )
 LITIGATION                                     )
                                                )


           MEMORANDUM IN SUPPORT OF PLAINTIFFS’
     MOTION TO TRANSFER ACTIONS PURSUANT TO 28 U.S.C. § 1407
   FOR COORDINATED OR CONSOLIDATED PRETRIAL PROCEEDINGS

                                  I.     INTRODUCTION

       Pursuant to 28 U.S.C § 1407 and Rule 6.2 of the Rules of Procedure of the Judicial

Panel on Multidistrict Litigation (“the Panel”), Movants Jean Cunningham, Mary Nelk,

Dana Beltz, Lori Prentice, Shannon Elwell, Vincent Anderson, Patrice Terry, and Debbie

Groves respectfully submit this Memorandum in support of their Motion to Transfer

Actions for coordination of pretrial proceedings. Movants seek transfer of all cases

identified in the Schedule of Actions to a single District Court selected by this Panel, as

well as any later filed cases involving similar facts or claims. The cases on the Schedule of

Actions arise from injuries caused by the failure of implanted port products manufactured

by the defendants enumerated herein. Also commonly referred to as Injection Ports, Port-

a-Catheters or “Port-a-Caths,” the implanted port products at issue in this Motion are

implantable vascular access devices designed to help administer intravenous therapies

including medication, fluids and parenteral nutrition without having to repeatedly access a

peripheral vein. An implanted port product consists of an injection reservoir which is
           Case MDL No. 3081 Document 1-1 Filed 05/24/23 Page 2 of 17




implanted under the patient’s skin and an attached catheter which acts as a conduit for the

intravenous therapies injected into the reservoir. Implanted ports are commonly part of

chemotherapy treatment for cancer patients or those with severe autoimmune disorders.

       The actions identified in the Schedule of Actions (“the Actions”) are brought by

individuals (the “Plaintiffs”) injured by the failure of an implanted port device. The

Actions name as defendants three affiliated business entities involved in the design of

implanted port devices, including C.R. Bard (“Bard”) and Becton, Dickinson and Company

(“BD”) and Bard Access Systems, Inc. (“BAS”) (“the Defendants”). As discussed further

below, the Actions assert common claims based upon common factual allegations. No

discovery is known to have occurred in any of the Actions, and no substantive rulings have

been made. Plaintiffs anticipate that many tag-along actions are likely to be filed soon and

for an indefinite time into the future. As will be set forth more fully herein, the ubiquity

of implanted port implantations in the United States, coupled with the high complication

rate and the outsized market share of the Defendants, could feasibly culminate in the filing

of related actions in the tens of thousands. Coordination of the Actions would facilitate

coordinated discovery, is necessary to avoid inconsistent pretrial rulings, and would

promote judicial efficiency.

                                    II.    BACKGROUND

       Plaintiffs in these cases have filed at least ten civil actions for injuries caused by the

use of Defendants’ implanted port devices. These cases rest on a common core of facts

and share essential characteristics as detailed next.


                                               2
          Case MDL No. 3081 Document 1-1 Filed 05/24/23 Page 3 of 17




       Each of the claims allege that (1) the Plaintiff was implanted with an implanted port

manufactured by the Defendants consisting of an injection reservoir and a flexible,

polymeric catheter; (2) the catheter component of the port devices were manufactured to

include a radiopacity agent called barium sulfate, which is known to reduce the material

integrity of the catheter when it is not encapsulated, coated or otherwise separated from the

catheter surface; (3) the loss of exposed barium sulfate particles from the catheter surface

leaves microfractures, fissures, and other alterations to the polymeric structure which

potentiated one or more of the injuries common to these devices: catheter fracture, catheter

infection, and thromboembolism; (4) Defendants misrepresented the safety of the port

devices; (5) Defendants negligently designed, marketed, distributed, and sold these

devices, (6) Defendants knew or should have known that these port devices were not safe

for the patients to whom they were prescribed and in whom they were implanted because

once implanted, the devices were prone to catheter fracture, bacterial colonization,

potentiation of thromboembolism, and otherwise malfunctioning and causing serious

injury; and (7) strict liability claims that these devices were defective and unreasonably

dangerous and lacked proper warnings.

       Shortly after the Defendants introduced these devices into the market—and long

before these Plaintiffs were implanted with these devices—Defendants received numerous

adverse event reports (“AERs”) involving the types of device failures enumerated herein.

These AERs were associated with severe injuries and complications, including




                                             3
             Case MDL No. 3081 Document 1-1 Filed 05/24/23 Page 4 of 17




hemorrhage, cardiac/pericardial tamponade, cardiac arrhythmia, infection, sepsis,

thromboembolism, and even death.

        In many instances, the Defendants concealed known device failures and injuries

from medical professionals and patients through submission to the FDA’s controversial

Alternative Summary Reporting (“ASR”) program. The ASR program, which permitted

device manufacturers to request exemptions, variances or alternatives to reporting

requirements pursuant to 21 CFR 803.19, was in effect from 1997 through June of 2019.

The FDA allowed device-related injury reports to be submitted through the ASR program

if they were “well-known events associated with specific devices.” 1 In contrast with the

FDA’s public Manufacturer and User Facility Device Experience (MAUDE) database,

manufacturer reports of device failures submitted through the ASR program were not

available to the public, including healthcare providers, until 2019. From 2004 to 2018

approximately 65% of all reported adverse events related to implanted port devices (the

vast majority of them associated with Defendants’ products) were reported through the

non-public ASR program rather than MAUDE. The FDA halted its ASR program after its

existence was exposed by a multi-part investigative report, prompting a widespread outcry

from medical professionals and patient advocacy groups.

        More recently, the ubiquity and breadth of injuries related to implanted port devices

has become better understood.                In 2020, a large study evaluating the long-term




1
 “Statement on agency’s efforts to increase transparency in medical device reporting,” FDA Center for Devices and
Radiologic Health, June 21, 2019
                                                        4
             Case MDL No. 3081 Document 1-1 Filed 05/24/23 Page 5 of 17




complication profile associated with port placement was published. 2                            The pool of

participants of the study included 93,756 patients who had a port implanted. The results

from the study found it was very common for a complication to occur within 5 years

following implant and included arrhythmogenic and thromboembolic complications as

well as infection and mechanical complications such as catheter fracture. Indeed, the

complication rate was 59.04% across all of the complication types studied.                                 This

complication rate is all the more staggering in light of the facts that (1) implants of port

devices in the United States are estimated at over 300,000 annually and (2) Defendants are

the undisputed market leaders in the United States, accounting for more than fifty percent

(50%) of domestic implanted port sales. These study results follow numerous studies over

the last thirty years indicating that the very injuries observed in such high numbers in the

Khalid paper are caused by the same unreasonably dangerous design elements alleged in

the Actions. The Actions seek to hold Defendants liable for injuries caused by their

wrongful conduct in connection with the design, development, manufacture, testing,

packaging, promoting, marketing, distribution, labeling, and sale of their implanted port

products.

                                             III.    ARGUMENT

    A.       Transfer to One District Court for Consolidation and Coordination Is
             Appropriate Under 28 U.S.C. § 1407.




2
 Khalid, et al., Outcomes following port-a-catheter placement in the Medicare population, 3 Surgery Open Science
39 (2021).
                                                       5
            Case MDL No. 3081 Document 1-1 Filed 05/24/23 Page 6 of 17




       The creation of a multidistrict litigation (“MDL”) is appropriate where “civil actions

involving one or more common questions of fact are pending in different districts,” and

transfer will serve “the convenience of parties and witnesses” and “promote the just and

efficient conduct of such actions.” 28 U.S.C. § 1407(a). As this Panel has emphasized,

“[c]entralization [permits] all actions to proceed before a single transferee judge who can

structure pretrial proceedings to consider all parties’ legitimate discovery needs, while

ensuring that common parties and witnesses are not subjected to duplicative discovery

demands.” In re Katz Interactive Call Processing Patent Litig., 481 F. Supp. 2d 1353,

1355 (J.P.M.L. 2007).

       There are—and will continue to be—numerous actions with common questions of

fact filed in multiple districts. Given the common nature of these cases, the number of

current actions, and the likely number of additional actions to be filed across the country,

transfer and coordination are necessary to avoid “multiplied delay, confusion, conflict,

inordinate expenses and inefficiency.” In re Plumbing Fixture Cases, 298 F. Supp. 484,

495 (J.P.M.L. 1968). The high likelihood of inconsistent judicial rulings affecting the

possible tens of thousands of plaintiffs is why Section 1407 was enacted.

       1.     These Actions Involve Common Questions of Fact, and Centralization of the
              Actions will Minimize the Risk of Inconsistent Rulings

       The first requirement of 28 U.S.C. § 1407 is the presence of common questions of

fact. Transfer and pretrial coordination of actions sharing common questions of fact

“conserve[s] the resources of the parties, their counsel, and the judiciary.” In re Ethicon

Physiomesh Flexible Composite Hernia Mesh Products Liab. Litig., 254 F. Supp. 3d 1381,

                                             6
           Case MDL No. 3081 Document 1-1 Filed 05/24/23 Page 7 of 17




1382 (J.P.M.L. 2017). However, these common questions of fact do not require complete

identity or even a majority of common questions to justify transfer. In re Zyprexa Prods.

Liab. Litig., 314 F. Supp. 2d 1380, 1381 (J.P.M.L. 2004), See also In re: Rembrandt Techs.,

L.P., Patent Litig., 493 F. Supp. 2d 1367, 1369 (J.P.M.L. 2007) (“Section 1407 does not

require a complete identity or even a majority of common factual or legal issues as a

prerequisite to transfer.”).

       Transfer and centralization are appropriate here because the Actions all have

substantial commonality of questions of fact and law. Here, the Actions allege that

Defendants engaged in wrongful conduct in the design, manufacture, marketing, sale, and

post-market surveillance of their implanted port products. The Actions further allege that

the design of the catheter components of Defendants’ products are rendered unreasonably

dangerous by a common design element, namely exposed barium sulfate on the catheter

surface, and that said unreasonably dangerous condition caused Plaintiffs’ injuries.

Moreover, these Actions allege that the Defendants knew of these defects and failed to

correct them by incorporating a safer feasible alternative design and failed to adequately

warn healthcare providers of the nature and magnitude of the risks attendant to these

defects.

       The common questions of fact concerning the development, testing, manufacturer,

sale, marketing, and adequacy of warnings for Defendants’ implanted port products—

including industry knowledge of the products’ danger—clearly warrant transfer and

consolidation of these Actions.


                                            7
            Case MDL No. 3081 Document 1-1 Filed 05/24/23 Page 8 of 17




       2.     Centralization of the Actions Will Promote the Just and Efficient Litigation
              of the Actions and Will Serve the Convenience of the Parties and Witnesses

       The J.P.M.L. considers multiple factors when deciding if transfer and consolidation

will promote the just and efficient litigation of the Actions, including (1) avoiding

inconsistent rulings among and between cases; (2) prevention of duplicate discovery on

common issues; (3) avoidance of undue burden and expense to the parties; and (4)

promoting efficiency and judicial economy.         See, e.g., 4 MANUAL FOR COMPLEX

LITIGATION, § 20.13, FEDERAL JUDICIAL CENTER (2004) (transfer is proper when it serves

“the convenience of the parties and witnesses and will promote the just and efficient

conduct of such actions”); see also In re Bristol Bay, Salmon Fishery Antitrust Litig., 424

F. Supp. 504, 506-07 (J.P.M.L. 1976). These factors warrant the transfer and coordination

of the Actions here.

       Centralizing these Actions before a single judge is the most efficient way to manage

this litigation. As described herein, these Actions will turn upon common questions of fact,

including whether the Plaintiffs have adequately established a causal connection between

the changes to the structural integrity of the product and its subsequent failure, whether

Defendants acted negligently in the design, testing, manufacture, sale of these devices,

whether Defendants should be strictly liable for injuries caused by these devices, and

whether Defendants failed to satisfy their duty to warn healthcare providers of the risks

posed by these products. Such questions are common to every Action and will be answered

through fact and expert discovery that will likely be extensive, expensive, and time-



                                             8
           Case MDL No. 3081 Document 1-1 Filed 05/24/23 Page 9 of 17




consuming. Failure to centralize and coordinate these Actions will only serve to duplicate

these burdens on all parties.

       The likely number of cases involving these products makes centralization critical.

More than 300,000 implanted port products are used on patients in the United States each

year. Numerous counsel representing Plaintiffs named in the Schedule of Actions have

informally met to assess the merits of these cases and their suitability for centralization.

Given the millions of devices implanted over the potential statutes of limitation periods,

counsel believes that thousands (and possibly tens of thousands) of similar follow-on cases

are likely to be filed in federal districts across the country. This type of voluminous,

complex litigation is precisely why the MDL system exists. See In re Camp Lejeune, N.C.

Water Contamination Litig., 763 F. Supp. 2d 1381, 1382 (J.P.M.L. 2011) (considering the

potential for “a large number of additional related actions to be filed” as a factor weighing

in favor of centralization).

       The Panel, likewise, has acknowledged that centralization is still appropriate where

the number of follow-on cases is fewer—even where only a handful of cases may be

pending. For example, the Panel ordered the consolidation of only two actions and one

potential tag-along because it was “necessary in order to eliminate duplicative discovery;

prevent inconsistent rulings on pretrial motions, including those with respect to whether

the actions should proceed as collective actions; and conserve the resources of the parties,

their counsel and the judiciary.” In re Starmed Health Pers. FLSA Litig., 317 F. Supp. 2d

1380, 1381 (J.P.M.L. 2004). See also In re First Nat’l Collection Bureau, Inc., 11 F. Supp.


                                             9
           Case MDL No. 3081 Document 1-1 Filed 05/24/23 Page 10 of 17




3d 1353, 1354 (J.P.M.L. 2014) (“Although there are relatively few parties and actions at

present, efficiencies can be gained from having these actions proceed in a single district.”);

In re Porsche Cars N. Am., Inc., 787 F. Supp. 2d 1349, 1360 (J.P.M.L. 2011) (consolidating

three pending actions in two districts); In re Toys “R” Us-Del., Inc., Fair Accurate Credit

Transactions Act (FACTA) Litig., 581 F. Supp. 2d 1377, 1379 (J.P.M.L. 2008)

(consolidating two pending actions in two districts); In re Milk Antitrust Litig., 530 F.

Sup.2d 1359, 1360 (J.P.M.L. 2008) (consolidating four pending actions in two districts);

In re Camp Lejeune, 763 F. Supp. 2d at 1381-82 (consolidating four pending actions in

four districts).

       These Actions have only recently been filed, and prompt centralization minimizes

the risk of inconsistent rulings. As the Panel recognized in Camp Lejeune, delaying

centralization “only invites inconsistent rulings,” which Section 1407 is designed to avoid.

763 F. Supp. 2d at 1382. Moreover, early centralization of these Actions avoids potential

prejudice to a party by transfer and consolidation. No substantive rulings have been made

in any of the Actions, and no party has yet had an opportunity to conduct discovery. The

timing of the filing of these Actions and this Motion places these cases in the best position

to reap the full benefits of Section 1407.

       Early centralization will maximize the benefits of the transfer and coordination

under Section 1407. Plaintiffs with Actions in this litigation will seek substantially the

same discovery from defendants; review the same documents produced in discovery; take

depositions of the same corporate officers and other witness, as well the same or


                                             10
          Case MDL No. 3081 Document 1-1 Filed 05/24/23 Page 11 of 17




substantially similar expert witnesses; and will involve the same questions of law

surrounding expert qualifications under Daubert v. Merrell Dow Pharmaceuticals, Inc.,

509 U.S. 579 (1993) and issues raised under motions for summary judgment. Coordination

of these Actions will avoid unnecessarily duplicative discovery across multiple Actions

and eliminate potentially conflicting or inconsistent rulings. See In re Zimmer Nexgen

Knee Implant Prods. Liab. Litig., 802 F. Supp. 2d 1374, 1376 (J.P.M.L. 2011)

(“Centralization under Section 1407 will eliminate duplicative discovery, [and] prevent

inconsistent pretrial rulings on Daubert and other pretrial issues.”); In re Transocean

Tender Offer Sec. Litig., 415 F. Supp. 382, 384 (J.P.M.L. 1976) (“[T]he likelihood of

motions for partial dismissal and summary judgment in all three actions grounded at least

in part on [a common issue] makes Section 1407 treatment additionally necessary to

prevent conflicting pretrial rulings and conserve judicial effort.”).

       Centralizing the Actions for coordination under Section 1407 is necessary to prevent

inconsistent judicial rulings, eliminate duplicative discovery and motion practice, promote

convenience and efficiency to the parties and witnesses, and conserve judicial resources.

See, e.g., In re Smitty’s/CAM2 303 Tractor Hydraulic Fluid Mktg., Sales Practices and

Prods. Liab. Litig., 466 F. Supp. 3d 1380, 1381 (“Centralization will eliminate duplicative

discovery; prevent inconsistent pretrial rulings, especially with respect to … Daubert

motions; and conserve the resources of the parties, their counsel and the judiciary.”). The

Panel, therefore, should grant Plaintiff’s Motion to Transfer for Coordinated or

Consolidated Pretrial Proceedings.


                                              11
           Case MDL No. 3081 Document 1-1 Filed 05/24/23 Page 12 of 17




   B.      These Actions Should Be Transferred to the Western District of Missouri

        Plaintiffs urge the Panel to transfer the Actions to the Western District of Missouri,

where a court with Multidistrict Litigation experience can efficiently, justly, and capably

manage them. The Western District of Missouri is the optimal court to manage a complex

product liability case like this one.

        In determining an appropriate transferee forum, the Panel balances several factors,

including the experience, skill, and caseloads of the available judges; the number of cases

pending in the jurisdiction; convenience of the parties; location of the witnesses and

evidence; and the minimization of cost and inconvenience to the parties. See, e.g., In re

Regents of University of California, 964 F.2d 1128, 1136 (Fed. Cir. 1992); In re Wheat

Farmers Antitrust Class Action Litig., 366 F.Supp. 1087, 1088 (J.P.M.L. 1973); In re

Preferential Drugs Prods. Pricing Antitrust Litig., 429 F.Supp. 1027, 1029 (J.P.M.L.

1977); In re Tri-State Crematory Litig., 206 F.Supp. 1376, 1378 (J.P.M.L. 2002);

Annotated Manual of Complex Litigation (Fourth) (2004), § 20.131, 15 303-04. Factors

including experience, number of pending cases, available resources, and convenience to

the parties and witnesses all weigh heavily in favor of transferring all related cases to the

Western District of Missouri.

        The Western District of Missouri judges are well-versed in handling multidistrict

litigations and have guided numerous MDLs to successful partial or complete resolutions.

Examples include: Dollar General Corp. Motor Oil Marketing and Sales Practices

Litigation - MDL Number 16-md-2709, Smitty’s/Cam2 303 Tractor Hydraulic Fluid


                                              12
            Case MDL No. 3081 Document 1-1 Filed 05/24/23 Page 13 of 17




Marketing, Sales Practices and Products Liability Litigation – MDL Number 20-md-2936,

and T-Mobile Customer Data Security Breach Litigation - MDL Number 21-md-3019.

These are but a few of the examples showing that the Western District of Missouri is an

efficient, well-run District with impressive case-processing statistics. For example, of all

of the District Courts in which the Actions are pending, the Western District of Missouri

currently boasts the shortest median time from case filing to disposition for civil cases. 3

        The Panel has also held that the pendency of a related action in a particular forum

is an important factor in selecting the forum. See In re: Sugar Industry Antitrust Litig., 395

F.Supp. 1271, 1274 (J.P.M.L. 1975) (citations omitted). Of the ten Actions currently on

file, six are on file in the Western District of Missouri. The remaining cases not pending

before the Western District of Missouri have been filed across at least three District Courts

with no other District presiding over more than one related Action. See David F. Hen,

Multidistrict Litigation Manual § 6:8 (2010) (“[T]he Panel will not normally transfer

actions to a district in which no action is then pending and the panel clearly considers the

number of actions pending in various districts to determine the selection.”).

        In addition to other factors, consolidation in the Western District of Missouri offers

a convenient and affordable location for both the Plaintiffs and Defendants in these

Actions. Kansas City recently opened a new $1.5 billion airport that has transformed air

travel into and out of the Kansas City metropolitan area. Kansas City’s central location



3
 See Federal Judicial Caseload Statistics; U.S. District Courts—Median Time From Filing to Disposition of Civil
Cases, by Action Taken—During the 12-Month Period Ending March 31, 2022
(https://www.uscourts.gov/statistics/table/c-5/federal-judicial-caseload-statistics/2022/03/31)
                                                       13
          Case MDL No. 3081 Document 1-1 Filed 05/24/23 Page 14 of 17




provides direct flights from more than 50 U.S. cities daily. Kansas City’s centralized

geographic location will make it an easily accessible destination for the Plaintiffs,

Defendants, witnesses, experts, and others involved in this litigation. Indeed, the Panel has

previously acknowledged the Western District of Missouri as “centrally located and easily

accessible, making it a convenient forum for … nationwide litigation.” In re Smittys, 466

F. Supp. 3d at 1382.

       Each judge serving in the Western District of Missouri is eminently qualified to

oversee these Actions, and several of the judges in the District have already demonstrated

the ability to steer an MDL on a prudent course.       The Honorable Brian C. Wimes is

currently presiding over one of the subject Actions (Cunningham; 2:23-cv-04087-BCW)

and is well-suited to oversee this litigation. Judge Wimes is vastly experienced, as he has

been on the federal bench for approximately twelve years. Judge Wimes has overseen

complex litigations including at least two MDL cases. See In re T-Mobile Customer Data

Security Breach Litigation, 576 F.Supp.3d 1373, 1375 (J.P.M.L. 2021) (data breach case

involving more than 54 million potential claimants); In re National Ski Pass Insurance

Litigation, 492 F.Supp.3d 1352, 1355 (J.P.M.L. 2020). In T-Mobile, Judge Wimes

shepherded the case to resolution just seven months after he received the assignment,

demonstrating his ability to efficiently resolve cases and decide complex issues, while

conserving judicial resources and the time and expense required of litigants.

       The Actions would also be prudently and efficiently managed if assigned to the

Honorable Stephen R. Bough. Judge Bough is an experienced jurist with a professional


                                             14
         Case MDL No. 3081 Document 1-1 Filed 05/24/23 Page 15 of 17




background involving substantial complex litigation. Judge Bough’s comprehensive and

unique experience, including presiding over other MDL cases, makes him an excellent

choice to oversee this litigation. Judge Bough has shown particular skill in efficiently

shepherding cases through discovery and trial to reach final adjudication of issues. His

guidance would be instrumental in these cases, which are expected to involve voluminous

discovery and complex questions of law. The Panel previously expressed confidence in

Judge Bough’s ability to steer a complex MDL on a prudent course given his experience

as a jurist and ability and willingness to manage complex litigation efficiently. In re

Smitty’s, 466 F. Supp. 3d at 1382.

      Additionally, Judge Bough’s knowledge and expertise regarding complex MDL

litigation is demonstrated in the article he co-authored with Elizabeth Chamblee Burch,

“Collected Wisdom on Selecting Leaders and Managing MDLs,” where he discusses,

among other things, the importance of cultivating diversity when choosing MDL

leadership. Even more, Judge Bough has actively participated in continuing legal education

programs addressing the uniqueness of MDL litigation. One recent example, “Hot Topics

in MDLs,” presented on March 29, 2023, allowed Judge Bough and other presenters to

directly address some current topics related to MDL litigation like early vetting and the

process of determining appropriate MDL leadership.

                                     IV.   CONCLUSION

      For all the reasons herein, Movants respectfully request the Panel order coordinated

and centralized pretrial proceedings for the Actions and transfer all pending and future


                                            15
         Case MDL No. 3081 Document 1-1 Filed 05/24/23 Page 16 of 17




related actions to the Western District of Missouri before either the Honorable Brian C.

Wimes or the Honorable Stephen R. Bough.

                                        Respectfully submitted,

Dated: May 24, 2023                     /s/ Adam M. Evans
                                        Adam M. Evans
                                        DICKERSON OXTON, LLC
                                        1100 Main St., Suite 5550
                                        Kansas City, MO 64105
                                        Telephone: 816-268-1960
                                        Facsimile: 816-268-1965
                                        aevans@dickersonoxton.com
                                        Counsel for Plaintiffs Jean Cunningham,
                                        Vincent Anderson, Patrice Terry

                                        Stuart N. Ratzan
                                        Kimberly L. Boldt
                                        RATZAN, WEISSMAN & BOLDT
                                        2850 Tigertail Avenue, Suite 400
                                        Coconut Grove, FL 33133
                                        Telephone: 855-957-3266
                                        Facsimile: 305-374-6755
                                        stuart@rwblawyers.com
                                        kimberly@rwblawyers.com
                                        Counsel for Plaintiffs Dana Beltz, Lori Prentice

                                        Roman Balaban
                                        BALABAN LAW, LLC
                                        8055 E. Tufts Ave, Suite 325
                                        Denver, CO 80237
                                        Telephone: (303) 377-3474
                                        Facsimile: (303) 377-3576
                                        balaban@denverfirm.com
                                        Counsel for Plaintiff Mary Nelk, Shannon Elwell

                                        Brett A. Emison
                                        Danielle Rogers
                                        LANGDON & EMISON
                                        911 Main Street
                                        Lexington, MO 64067

                                          16
Case MDL No. 3081 Document 1-1 Filed 05/24/23 Page 17 of 17




                          Telephone:(660)259-6175
                          Facsimile: (660) 259-4571
                          brett@lelaw.com
                          danielle@lelaw.com
                          Counsel for Plaintiff Debbie Groves




                            17
